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The United States Attorney chargeS:

COUNT ONE

[17 U.S.C. § 506(&)(1)(B) and 18 U.S.C. § 2319(3), (C)(3)]

Between on or about February 20, 2016 and February 22, 2016, in
Loe Angeles County, within the Central Dietrict of California, and
eleewhere, defendant TREVON MAURICE FRANKLIN, also known as “Tre-Von
M. King,” did Willfully infringe the copyright of a copyrighted work,
namely the motion picture Deadpool, by the reproduction and

distribution, including by electronic meane, during a lSO~day period,

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT/OF CALIFORNIA
UNITED STATES OF AMERICA, CR NO. 17-206(A)-JAK
Plaintiff, § l § § §
§§E§B§§Q§_l\l§
V' 1_1\1§9_§§4_§119§
TREVQN MAURICE FRANKLIN, [17 U.S.C. § 506(a)(1)(B) and 18
aka “Tre~Von M. King,” U.S.C. § 2319(a), (c)(3): Criminal
Infringement of a Copyright]
Defendant.
[Clase A Miedemeanor]

 

 

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of at least one copy and phonorecord of Deadpool, which had a total

retail value of more than $l,OOO.

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NICOLA T. HANNA
United StateS Attorney

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PATRICK R. FITZGERALD
Aesietant United Statee Attorney
Chief, National Security Division

RYAN WHITE

ASSiStant United Statee Attorney
Chief, Cyber & Intellectual
Property Crimee Section

JENNIE L. WANG

ASSietant United Statee Attorney
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Property Crimes Section

ELLEN E. LANSDEN

Aseietant United States Attorney
Cyber & Intellectual Property
Crimee Section

 

 

